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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

Chuck Booms,                                  )
                                              )   Case No. 1:23-cv-02099-JPC
               Plaintiff,                     )
                                              )   Judge J. Philip Calabrese
        vs.                                   )
                                              )
Gray Local Media, Inc. et al.,                )
                                              )
               Defendants.                    )

 Gray’s Opposition to Booms’ Motion to Extend Time to Oppose Summary Judgment

        By rule and Sixth Circuit precedent, to obtain more time to oppose summary

judgment based on a purported need for discovery, a plaintiff must do more than make a

generalized claim that he needs discovery to respond to issues raised in defendant’s

motion. Instead, plaintiff must provide a sworn affidavit detailing exactly what discovery it

needs, what material facts it hopes to get through that discovery, how those facts would

create a genuine issue of material fact, and why it has not previously obtained that

information in discovery.

        Booms’ general and conclusory motion satisfies none of those requirements, let

alone all of them. He provides no affidavit. He says he needs to take depositions, but does

not say how many depositions, who he wants to depose, or what facts he hopes to obtain by

those unspecified depositions that are material to Gray’s motion. Indeed, Gray told Booms

explicitly in a January 3, 2024 Rule 26(f) Joint Report the undisputed facts on which Gray

would be moving for early summary judgment. So Booms has had almost a full year to take

discovery on those facts to oppose Gray’s motion. Booms’ motion does not say that he




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lacked sufficient time to obtain discovery, and he gives no explanation for why he has not

obtained the discovery that he says he needs over the past year.

        The Court should deny Booms’ motion and require him to oppose Gray’s motion

forthwith.

                                        Background

I.      Booms sues

        Chuck Booms is a local sports personality. His popularity has declined significantly,

if not entirely, since 2015. Back then, Booms used to appear on a Cleveland Browns post-

game television program called The Fifth Quarter. (2d Am. Compl. ¶ 14, ECF 27 at PageID

#169.) Booms has not appeared on The Fifth Quarter since the 2016 NFL season. (Id.) The

program airs on Gray’s local Cleveland television stations: WOIO 19 or WUAB 43. (Id.)

        Sometime in 2023, Booms’ neighbor notified him that his AT&T cable service

identified Booms’ name in a description of The Fifth Quarter on his DVR listing. (Gray

Memo. in Sup. of Mot. for Sum. Judg. (“MSJ”), ECF 37-1 at PageID #382.)

        Booms complained because he has not been on The Fifth Quarter since 2016. Booms

sued Gray, and later added AT&T and DIRECTV as defendants. Booms alleges that

defendants all violated Booms’ publicity rights by using his name without permission.

Booms sues for theft of publicity rights under Ohio statutory and common law. (See

generally 2d Am. Compl., ECF 27.) He seeks money.

II.     Gray tells Booms why it cannot be liable and will move for early summary
        judgment on that basis.

        Since the very start of the case, Gray has told Booms that: (a) Gray has no ownership

or control over the program descriptions that appear on the AT&T cable service, (b) Gray



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has never told AT&T (or any other cable or streaming provider) that Booms was on The

Fifth Quarter after he left the program in 2016, (c) Gray does not know how or why Booms’

name appeared on the AT&T info page, and (d) the weekly programming schedule emails

that Gray sends to AT&T and others only identify the names of the programs and do not

identify the names of individuals appearing on the programs. (See Rule 26(f) Report of the

Parties at 4, 8, ECF 6.) Gray also notified Booms by at least January 3, 2024, that Gray would

be filing an early summary judgment motion on this basis. (See id. at 8-10.)

III.    The parties engage in fact discovery for almost a year.

        On February 9, 2024, Gray produced to Booms all of the weekly programming

emails in its possession that Gray had sent to AT&T and other cable and streaming

providers. (Cavanagh Decl. ¶ 7, ECF 43-1 at PageID #434.) Those emails and attachments

are bates numbered GMG-000031-1370. (Id. ¶ 8.) None of those emails identify Booms as

being on The Fifth Quarter, let alone at a time when he was not on the program. (See MSJ,

ECF 37-1 at PageID #383.)

        Gray and Booms have served and responded to interrogatories, document requests,

and requests for admissions. (Cavanagh Decl. ¶ 9 at PageID #434.) Gray has produced at

least 1,531 pages of documents, and Booms has produced 82 pages. (Id. ¶ 10.) Booms

admits that the only unauthorized use of his name of which he is aware are the

appearances of his name on the AT&T cable service. (See MSJ, ECF 37-1 at PageID #386.)

        Booms also issued deposition and document subpoenas to AT&T and Red Bee Media

(the company from which AT&T obtains programming information). (MSJ, ECF 37-1 at

PageID #384.)




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IV.     Gray moves for summary judgment.

        On November 6, 2024, Gray moved for summary judgment. (ECF 37.) The grounds

for Gray’s motion are the same ones that Gray raised in the parties’ January 2023 Rule 26(f)

report: Gray has not used Booms’ name without permission because Gray is not

responsible for the information listed on the AT&T cable service. Gray supported its motion

with the declaration of Linda McManus—the WOIO employee who informs AT&T and other

cable and streaming providers about upcoming program schedules. (See ECF 36-1.)

        Booms responded to Gray’s motion by requesting, by email on November 6, the

deposition of Christine Arnold. (Cavanagh Decl. ¶ 11, ECF 43-1 at PageID #434.) Ms. Arnold is

an administrative assistant at Gray. (Id. ¶ 12.) Ms. Arnold has no firsthand knowledge about

the issues relevant to this case, as confirmed by no party identifying her as a witness in

their initial disclosures or in discovery responses. (Id. ¶ 13-14.)

        Gray questioned why Booms sought Ms. Arnold’s deposition when she has no

knowledge of the facts underlying the lawsuit. (Id. ¶ 15.) During a call on November 11,

Booms’ attorney represented that he sought the deposition of Ms. Arnold because, as a

longtime employee, she is familiar with the employees at Gray and likely could identify who

at Gray may know about Gray publicizing Booms’ name when he was actually on the

program. (Id. ¶ 16.) In a November 11 email, counsel for Gray summarized their call and

recommended that Booms take a Rule 30(b)(6) deposition on this topic, rather than

putting Ms. Arnold through the work and stress of a formal deposition. (ECF 43-3 at PageID

#440.) Gray’s counsel also pointed out that, in response to interrogatory no. 11, Gray had

identified three different individuals likely to have knowledge about Gray’s use of Booms’




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name when he was on the program. (Id.) Thus, Booms already had the information that he

sought to obtain from Ms. Arnold.

        Lastly, Gray noted that Lisa McManus, who submitted a declaration in support of

Gray’s motion, has been at Gray for at least 20 years. (ECF 43-3 at PageID #440.) Thus, if

Booms is going to take Ms. McManus’s deposition, he could ask her questions about those

who may have publicized Booms’ name when he was on The Fifth Quarter. Gray’s counsel

ended his November 11 email by asking Booms’ attorney to advise how he “want[s] to

proceed” or whether he wants to “set up another call to discuss.” (Id.)

        On November 21, 2024, Booms moved to “extend the time and/or defer the time to

consider a Motion for Summary Judgment filed by [Gray].” (ECF 40.) Booms did not support

his motion with an affidavit, despite Fed. Civ. R. 56(d) explicit mandate that he do so. His

motion also does not identify what specific individuals he seeks to depose, what testimony

he hopes to obtain from those individuals, or how their testimony is essential to oppose

Gray’s motion. Gray now opposes Booms’ motion.

                                     Law and Argument

I.      A plaintiff must comply with Fed. Civ. R. 56(d) to obtain more
        time to oppose summary judgment.

        To obtain an extension of time to obtain discovery to respond to a summary

judgment motion, a movant must meet the strict mandates of Rule 56(d). See Cacevic v. City

of Hazel Park, 226 F.3d 483, 488-489 (6th Cir. 2000). The Sixth Circuit has held Rule

56(d)—previously numbered 56(f)—is a “carefully crafted rule” and the “importance of

complying with [it] cannot be overemphasized.” Cacevic, 226 F.3d at 488. The rule states:

        If a nonmovant shows by affidavit or declaration that, for specified reasons, it
        cannot present facts essential to justify its opposition, the court may: (1)


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        defer considering the motion or deny it; (2) allow time to obtain affidavits or
        declarations or to take discovery; or (3) issue any other appropriate order.

Fed. Civ. R. 56(d).

        A “party opposing a motion for summary judgment possesses no absolute right to

additional time for discovery under Rule 56.” Doe v. City of Memphis, 928 F.3d 481, 490 (6th

Cir. 2019) (cleaned up).

        To comply with Rule 56(d), the movant must file an affidavit that “indicates to the

district court [the party’s] need for discovery, what material facts it hopes to uncover, and

why it has not previously discovered the information.” City of Memphis, 928 F.3d at 490

(quoting Ball v. Union Carbide Corp., 385 F.3d 713, 719 (6th Cir. 2004)).

II.     Booms has not met any, let alone all, of Rule 56(d)’s requirements.

        A.     Booms failed to submit an affidavit in support of his motion.

        Booms did not submit an affidavit in support of his request. Because Rule 56(d)

explicitly requires an affidavit, the Court should deny his request on that failure alone. See

Mattingly v. R.J. Corman Railroad Group, LLC, 90 F.4th 478, 492 (6th Cir. 2024) (rejecting

argument that discovery should have been allowed where appellant failed to submit an

affidavit under Rule 56(d)); see also Jackson v. Transport Corp. of Am., Inc., No. 1:21-cv-

01325-PAB, at *10 (N.D. Ohio Apr. 24, 2023) (“Here, Plaintiff did not file the required

affidavit. The Court, therefore, denies his request for additional time to conduct discovery

under Rule 56(d).”)

        As explained next, even if the Court overlooks this procedural defect, the Court

should still deny the motion because Booms fails to satisfy the substantive aspects of the

rule by not identifying what specific discovery he needs, how it will allow him to oppose



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summary judgment, or why he has not obtained that evidence yet during almost a full year

of discovery.

B.        Booms does not identify who he intends to depose, let alone what testimony
          he expects from those unnamed individuals.

          Booms’ motion states—in general and conclusory terms—that he “will need to take

at least one or more depositions on the issues raised in Defendant’s dispositive motion.”

(ECF 40-1 at PageID #395.) This falls woefully short of the specificity that Booms needed to

offer. See Zakora v. Chrisman, 44 F.4th 452, 479 (6th Cir. 2022) (“general and conclusory

statements in its affidavit regarding the need for more discovery” is insufficient) (quoting

Ironside v. Simi Valley Hosp., 188 F.3d 350, 354 (6th Cir. 1999)). Indeed, Booms’ motion

does not even say who he intends to depose, let alone what testimony he expects to obtain

from these unidentified and unspecified number of witnesses. The Court should deny

Booms’ motion for failure to identify what specific discovery and evidence he seeks to

obtain.

          C.    Booms does not identify any facts material to Gray’s motion that he
                expects to obtain by deposition.

          To obtain a delay for more discovery, Booms also needed to identify what particular

facts he hopes to obtain and how those facts would create a genuine issue of material fact

to rebut Gray’s summary judgment motion. See City of Memphis, 928 F.3d at 490; see also

Cacevic, 226 F.3d at 489 (rejecting conclusory claim that further discovery would allow

plaintiff to successfully oppose the motion). On this point, the Sixth Circuit has held that the

movant must “affirmatively demonstrate how postponement of a ruling on the motion will

enable him to rebut the movant’s showing of the absence of a genuine issue of fact.” Id.

(quoting FTC v. E.M.A. Nationwide, Inc., 767 F.3d 611, 623 (6th Cir. 2014)) (cleaned up).


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        Again, Booms provides only the conclusory assertion that he needs depositions “on

the issues raised in” Gray’s motion. He fails to identify a single fact that he hopes to

establish by those depositions, let alone a fact that would create a genuine issue of material

fact to rebut Gray’s motion.

        Although his motion leaves us guessing, Booms may intend to seek deposition

testimony about WOIO publicizing that Booms was on The Fifth Quarter during the period

of time when he was on the program. That is the subject that Booms raised after Gray filed

its motion in seeking the deposition of Ms. Arnold. If so, such evidence is immaterial to

Gray’s motion, and thus not a basis for delaying summary judgment briefing. That is

because Gray’s motion relies on the undisputed facts that (i) it does not own or control the

AT&T cable service on which Booms’ name appeared, and (b) Gray never told AT&T or any

other cable or streaming provider that Booms was on The Fifth Quarter after he no longer

appeared on the program. Gray identifying Booms as being on The Fifth Quarter while he

was on the program cannot create a genuine issue with these two undisputed facts. Thus, it

is immaterial and irrelevant to Gray’s motion. See City of Memphis, 928 F.3d at 490 (“A

district court does not abuse its discretion in denying discovery when the discovery

requested would be irrelevant to the underlying issue to be decided.”) (quoting Bayer

Healthcare, 752 F.3d at 1074).

        Booms contends that Gray identifying Booms as being on the program when he was

actually on the program imposes a legal duty upon Gray to notify AT&T when Booms left

the program. That argument, however, is incorrect and devoid of legal support. A theft of

publicity rights requires that the defendant take or use plaintiff’s name without permission.

No case, in Ohio or elsewhere, has ever recognized a theft of publicity rights by not telling


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third-parties that a person is no longer on a program or in a performance. It is illogical for

Booms to suggest that Gray not using his name could equate to misappropriating his name,

and no court has ever viewed not using a name as a misappropriation of publicity rights.

        Moreover, Gray admits that it identified Booms as being on The Fifth Quarter when

he was still on the program. (See ECF 43-3 at PageID #440.) Thus, that fact, in addition to

being immaterial, is undisputed. Booms seeking more details about an immaterial and

undisputed fact is not a valid basis for delaying Gray’s right to have its summary judgment

motion decided. In the end, it is undisputed that Gray has not used Booms’ name without

permission—an essential proof element of Booms’ claims. And Booms does not identify a

single fact that he hopes to obtain with discovery that will change that undisputed reality.

The Court should deny his motion accordingly.

D.      Booms does not explain why—after having notice of the grounds for Gray’s
        motion for almost a year—he has been unable to obtain discovery to oppose.

        To obtain the extension, Booms also needed to explain “why [he] has not previously

discovered the information” that he purports to need. See City of Memphis, 928 F.3d at 490.

In evaluating that issue, courts consider when the movant learned of the issue that is the

subject of the desired discovery and how long the discovery period has lasted. Id. at 491.

        Not only does Booms not say what specific information he needs, but his motion

does not even attempt to explain why he has not previously obtained that information over

the past year.

        Again, Gray explicitly disclosed to Booms the exact grounds for its summary

judgment motion in the parties’ January 3, 2024 Rule 26(f) Joint Report, the undisputed

facts that support it (which are the same undisputed facts cited in Gray’s pending motion),



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and it explicitly stated that it would be seeking early motion for summary judgment on that

basis. (See Report, ECF 6 at Page ID #50.) Thus, Booms has had almost a full year to obtain

discovery to prove Gray was responsible for his name appearing on the AT&T cable service.

Indeed, Booms has obtained discovery by interrogatories, document requests, requests for

admission, and subpoenas to AT&T and Red Bee Media (the company that provides AT&T

with programming information). All of that discovery supports Gray’s motion and confirms

the material facts are undisputed. This is reason to grant summary judgment to Gray, and

not reason to delay briefing.

        To the extent Booms contends that he has not had the opportunity to depose people

with knowledge about WOIO identifying Booms as being on The Fifth Quarter when he was

on it, such testimony is immaterial for the reasons explained above. But, regardless, WOIO

identified four WOIO employees with knowledge about WOIO identifying hosts of The Fifth

Quarter in a July 17, 2024 response to Booms’ interrogatory number 17. (ECF 43-3 at

PageID #448.) Despite knowing Gray’s defenses and the grounds for its forthcoming

summary judgment motion, Booms never made any attempt to depose any of those

witnesses.1 Booms cannot credibly claim that he lacked opportunity to depose witnesses on

that topic.

        Booms does not and cannot show that he lacked opportunity to obtain discovery to

respond to Gray’s summary judgment motion.




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                                           Conclusion

        For these reasons, the Court should deny Booms’ motion and order him to oppose

Gray’s motion forthwith.

                                                Respectfully submitted,

Dated: December 3, 2024                           s/ Matthew J. Cavanagh
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                                                Attorney for Gray Local Media, Inc.




1 At 6:06 p.m. on the evening of December 3, 2024, Booms’ attorney emailed to the undersigned a

request for the deposition of Lisa McManus and “likely one other individual whether it be Christine
Arnold or someone else.” That email was sent on the eve of the Court’s next status conference and
literally moments before the undersigned was prepared to file this opposition. Gray will address
this last second request at tomorrow’s status conference.


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                                   L.R. 7.1(f) Certification

        In accordance with Local Rule 7.1(f), I hereby certify that this case is on the standard

track and that the foregoing memorandum complies with the applicable page limitation of

15 pages.



                                                s/ Matthew J. Cavanagh
                                               Counsel for Gray Local Media, Inc.




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